         Case 1:14-cr-00498-WHP Document 39 Filed 08/12/14 Page 1 of 4



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                                                            August 12, 2014

The Honorable William H. Pauley III
United States District Judge                                Filed ECF
Southern District of New York
500 Pearl Street
New York, New York 10007

                           Re: United States vs. Rasheem Riley, et al.
                                      14 Cr. 498 (WHP)

Dear Judge Pauley:

       I write as counsel for Mr. Rasheem Riley, a defendant in the above-referenced case.

       This letter is respectfully submitted, in advance of Mr. Riley’s detention hearing on
August 18, 2014, at 11:30 A.M., to provide the Court with information about the bail package
being proffered by defendant, and about other matters relevant to the issue of bail.

       I. Background
        On July 30, 2014, upon his presentment before Magistrate Judge Debra Freeman, Mr.
Riley pleaded not guilty to the above referenced indictment in which he is charged in Count One
with the crime of conspiracy to distribute and possess with intent to distribute and possess with
intent to distribute 280 grams and more of crack cocaine. Mr. Riley is not charged in the
additional three counts of the indictment alleging firearms offenses or Hobbs Act robbery.
       Mr. Riley consented to an order of detention without prejudice to his making a future bail
application.

        Mr. Riley is a lifelong resident of New York and has significant ties to New York. As set
forth below, seven people have unequivocally come forward and offered to act as sureties for Mr.
Riley, each confident that he will abide by any terms and conditions imposed by this Court
should he be released on bond.

       II. Proposed Bail Package
         It is respectfully requested that Your Honor release Mr. Riley on a substantial and
restrictive bond secured by the assets and assurances of the following seven financially
responsible persons and including, at a minimum, the restrictive conditions described below.
             Case 1:14-cr-00498-WHP Document 39 Filed 08/12/14 Page 2 of 4



Hon. W illiam H. Pauley III                                                 U.S.A. v Rasheem Riley
August 12, 2014                                                             14 Cr. 498 (W HP)
Page (2) Two




        Co-signers Of The Bond

       Mr. Riley proffers the following seven financially responsible co-signers of the bond.
Each of the co-signers is a very close friend or relative of Mr. Riley, who is gainfully employed.
Their combined annual income is over $250,000.00 dollars, and each one is a United States
Citizen:

        1.       Name:                Mr. Cecil Pressley (brother in law of the defendant)
                 Residence:           New York
                 Employer:            Trade Off Construction Company, New York
                 Job Title:           Construction Worker, Full Time
                 Years at Company:    10 years
                 Annual Salary:       Approximately $35,000/year


        2.       Name:                Ms. Lovely O’Neal (girl friend of defendant)
                 Residence:           New York
                 Employer:            Western Beef Company, New York
                 Job Title:           Clerk, Bakery Department, Full Time
                 Years at Company:    2 years
                 Annual Salary:       Approximately $20,000/year

        3.       Name:                Mr. Andrew Santana (friend of defendant)
                 Residence:           New York
                 Employer:            Empire Merchants Company, New York
                 Job Title:           Truck Driver
                 Years at Company:    2 years
                 Annual Salary:       Approximately $60,000/year


        4.       Name:                Mr. Jason Santana (friend of the defendant)
                 Residence:           New York
                 Employer:            U.S. Postal Service
                 Job Title:           Letter Carrier
                 Years at Company:    9 years
                 Annual Salary:       Approximately $56,000/year


        5.       Name:                Ms. Annette Ingram (friend of the defendant)
                 Residence:           New York
                 Employer:            Citifield (Shea Stadium)
                 Job Title:           Maintenance/Housekeeping Staff
                 Years at Company:    25 years
                 Annual Salary:       Approximately $27,000/year
             Case 1:14-cr-00498-WHP Document 39 Filed 08/12/14 Page 3 of 4



Hon. W illiam H. Pauley III                                                   U.S.A. v Rasheem Riley
August 12, 2014                                                               14 Cr. 498 (W HP)
Page (3) Three


        6.       Name:                 Ms. Keisha O’Neal (friend of the defendant)
                 Residence:            New York
                 Employer:             Fairway Market, New York
                 Job Title:            Baker
                 Years at Company:     2 years
                 Annual Salary:        Approximately $19,500/year


        7.       Name:                 Lisa Saintcloud (friend of the defendant)
                 Residence:            New York
                 Employer:             NYC Human Resources Administration, Social Services
                                       Dept.
                 Job Title:            Job Opportunity Specialist
                 Years at Job:         One year
                 Annual Salary:        Approximately $35,740.00/year


        Additional Conditions of Release

        Defendant agrees to be subjected to the following conditions/restrictions during his
        release:
        1.       Strict Pretrial Services supervision. Mr. Riley also agrees to home detention with
                 an ankle bracelet if the Court decides this is necessary;

        2.       Drug testing and monitoring (as required by Pretrial Services);

        3.       Travel restricted to SDNY, EDNY;

        4.       Surrender any travel documents, and not to apply for any new travel documents;

        5.       No contact or associating with co-defendants except in the presence of counsel;

        6.       Any other conditions as the Court deems appropriate and necessary.


        III. Conclusion
       The substantial and restrictive bail package proposed by defendant more than adequately
addresses any concerns regarding risk of flight or danger to the community.

         Mr. Riley’s family and friends are prepared to come before this Court where they intend
to stake their financial futures on the presence of the defendant at each and every court
appearance. Each potential surety understands that they will be jointly and severally liable for the
entire amount of the bond should Mr. Riley fail to return to court. Mr. Riley, a United States
citizen, will appear in court when required to do so, comply with all the restrictive conditions
imposed by this Court and cooperate with United States Pre-Trial Services. He understands that
his failure to return to court would result in the financial ruin of his family and friends and would
result in additional charges being levied against him.
           Case 1:14-cr-00498-WHP Document 39 Filed 08/12/14 Page 4 of 4



Hon. W illiam H. Pauley III                                                U.S.A. v Rasheem Riley
August 12, 2014                                                            14 Cr. 498 (W HP)
Page (4) Four




        Accordingly, at the conclusion of the bail hearing on August 18, 2014, Mr. Riley will
respectfully request that the Court grant him bail in accordance with bail package outlined above.


                                                            Respectfully submitted,

                                                                /s/
                                                            WINSTON LEE



cc:     Andrea Griswold
        Assistant U.S. Attorney
        (By e-mail)
